        4:22-bk-10799 Doc#: 27-1 Filed: 06/07/22 Entered: 06/07/22 14:54:26 Page 1 of 1

                                                      Notice Recipients
District/Off: 0860−4                       User: admin                              Date Created: 6/7/2022
Case: 4:22−bk−10799                        Form ID: pdf08Ac                         Total: 25


Recipients of Notice of Electronic Filing:
ust         U.S. Trustee (ust)        USTPRegion13.LR.ECF@usdoj.gov
tr          Mark T. McCarty           ecfmail@ch13ark.com
aty         Matthew David Mentgen            ecfbkcourts@yourdebtattorney.com
                                                                                                                      TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Karen D Easter        9509 W Markham Street, Unit B            Little Rock, AR 72205
6747703     Aidvantage        U.S. Department of Eduction         P.O. Box 9635           Wilkes−Barre, PA 18773−9635
6748959     Americas Car−Mart INC          1805 N 2nd ST STE 401             Rogers, AR 72756
6747705     Bank of America         PO Box 982234         El Paso, TX 79998−2234
6747709     Car−Mart of Little Rock        5900 S University Ave          Little Rock, AR 72209
6747696     Centennial Bank        1301 Rebsamen Park Road            Little Rock, AR 72202
6747698     Credit One        6801 S Cimarron Rd         Las Vegas, NV 89113
6747699     DJ Daily, DDS         17200 Chenal Pkwy Ste. 250          Little Rock, AR 72223
6764495     Entergy Arkansas, LLC         L−JEF−359          4809 Jefferson Hwy., Ste. A         New Orleans, LA
            70121−3138
6747706     Entergy Arkansas, LLC         P.O. Box 8101         Baton Rouge, Louisiana 70891−8101
6747707     GEICO         ATTN: Region 3 Underwriting           PO BOX 9105            Macon, GA 31208−9105
6755246     LVNV Funding, LLC           Resurgent Capital Services          PO Box 10587         Greenville, SC 29603−0587
6747704     Little Rock Wastewater        11 Clearwater Drive         Little Rock, AR 72204
6747697     Midland Credit Management, Inc.          8875 Aero Drive, Suite 200          San Diego, CA 92123
6749974     Midland Credit Management, Inc.          PO Box 2037          Warren, MI 48090
6747701     National Enterprise Systems, Inc.       29125 Solon Rd           Cleveland, OH 11439
6758418     PORTFOLIO RECOVERY ASSOCIATES, LLC                      POB 41067           Norfolk, VA 23541
6747702     PayPal Credit       P.O. Box 965005         Orlando, FL 32896−5005
6759892     Premier Bankcard, LLC         PO Box 7999          St Cloud, MN 56302−9617
6757236     Quantum3 Group LLC as agent for CKS Prime Investments LLC                PO Box 788         Kirkland, WA
            98083−0788
6747700     Regions Bank         400 W. Capital, Ste 250       Little Rock, AR 72201
6747708     The General Insurance        17304 Preston Rd Ste 1100           Dallas, TX 75252
                                                                                                                    TOTAL: 22
